             Case 2:24-cv-00394-JLR Document 19 Filed 10/14/24 Page 1 of 2




 1                                                                     The Honorable James L. Robart

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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9

10   AMAZON.COM, INC., a Delaware                         No. 2:24-cv-00394-JLR
     corporation; AMAZON.COM SERVICES LLC,
11   a Delaware limited liability company; CRYE           CERTIFICATE OF SERVICE
     PRECISION LLC, a New York limited liability
12   company,
13                         Plaintiffs,
14          v.
15   ARMYCAMO USA, INC., a California
     corporation; L&Q ARMY, INC., a California
16   corporation; L&Q TACTICAL USA, INC., a
     Texas corporation; PALADINS PRODUCTS,
17   INC., a California corporation; PANTHERA
     PRODUCTS, INC., a California corporation;
18   X&X OUTDOOR PRODUCT, LLC, a Texas
     limited liability company; QINGYUN QIU, an
19   individual; PENGGUI HUANG, an individual;
     MICHAEL ZHANG, an individual; QILING
20   QIN, an individual; XIXI ZENG, an individual;
     CHENWUQIANG CHEN, an individual; and
21   DOES 1-10,
22                         Defendants.
23

24          I certify that on October 10, 2024, I caused to be served true and correct copies of the:

25          1. Complaint for Damages and Equitable Relief (Dkt. 1);

26          2. Civil Cover Sheet (Dkt. 1-5);

27          3. Exhibit A to Complaint for Damages and Equitable Relief (Dkt. 1-1);

     CERTIFICATE OF SERVICE - 1                                                 Davis Wright Tremaine LLP
                                                                                   920 Fifth Avenue, Suite 3300
     (2:24-cv-00394-JLR)                                                            Seattle, WA 98104-1640
                                                                              206.622.3150 main · 206.757.7700 fax
                Case 2:24-cv-00394-JLR Document 19 Filed 10/14/24 Page 2 of 2




 1          4. Exhibit B to Complaint for Damages and Equitable Relief (Dkt. 1-2);

 2          5. Exhibit C to Complaint for Damages and Equitable Relief (Dkt. 1-3);

 3          6. Exhibit D to Complaint for Damages and Equitable Relief (Dkt. 1-4);

 4          7. Summons for Michael Zhang (Dkt. 7-8);

 5          8. Summons for Qiling Qin (Dkt. 7-9); and

 6          9. Order Granting Plaintiffs’ Ex Parte Motion for Alternative Service (Dkt. 18)

 7   via RPost, per the Court’s Order Authorizing Alternative Service (Dkt. 18) to the following

 8   Defendants via the email addresses listed below:

 9              Defendant Qiling Qin via the email address: warriorsproduct@outlook.com; and

10              Defendant Michael Zhang via the email addresses: zhangsnet21@gmail.com and

11               lqarmyinc@gmail.com.

12          RPost confirmed delivery of the service emails without any error notices or bounce back

13   messages.

14

15          DATED this 14th day of October, 2024.

16                                                      DAVIS WRIGHT TREMAINE LLP
                                                        Attorneys for Plaintiffs
17

18                                                      s/ Scott Commerson
                                                        Scott Commerson, WSBA #58085
19                                                      865 South Figueroa Street, Suite 2400
                                                        Los Angeles, CA 90017-2566
20                                                      Tel: (213) 633-6800
                                                        Fax: (213) 633-6899
21                                                      Email: scottcommerson@dwt.com
22

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     CERTIFICATE OF SERVICE - 2                                                 Davis Wright Tremaine LLP
                                                                                   920 Fifth Avenue, Suite 3300
     (2:24-cv-00394-JLR)                                                            Seattle, WA 98104-1640
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